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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT




__________________________________
                                   )
UNIVERSITAS EDUCATION, LLC         )
                                   )                        NO. 3:14 mc 00125-RNC
            Petitioner             )
                                   )
VS.                                )
                                   )
NOVA GROUP, INC.                   )                       November 9, 2021
                                   )
            Respondent             )
__________________________________ )



                                NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE THAT Jonathan J. Einhorn, 129 Whitney Avenue, New

Haven, CT. 06510, appears on behalf of the interested party Carpenter Financial Group, Inc. in

lieu of Attorney Grayson Colt Holmes, in this matter.



                                            Respectfully Submitted,

                                            CARPENTER FINANCIAL GROUP, INC.

                                            /s/ Jonathan J. Einhorn

                                            JONATHAN J. EINHORN, ESQ.
                                            129 WHITNEY AVENUE
                                            NEW HAVEN, CT. 06510
                                            FEDERAL BAR NO. ct00163
                                            Ph: (203) 777-3777
                                            Fax: (203) 782-1721
                                            einhornlawoffice@gmail.com
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                                      CERTIFICATION


        I hereby certify that on this 9th day of November, 2021, a copy of the foregoing Notice of
Appeal was filed electronically or served by mail on anyone unable to accept electronic filing.
Parties may access this filing through the Courts CM/ECF System.


                                             /s/ Jonathan J. Einhorn
                                             JONATHAN J. EINHORN
